4:13-cr-03115-JMG-JMD        Doc # 106    Filed: 03/12/14    Page 1 of 1 - Page ID # 265




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                 4:13CR3115
      vs.
                                                                 ORDER
CHARLES J. BAASCH,
                    Defendants.

      Defendant has orally moved to continue defendant’s change of plea hearing.
(Filing No. 105). As explained in the motion, the defendant's newly retained counsel
needs additional time to review the proposed plea with the defendant. The motion to
continue is unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)      Defendant’s motion to continue, (filing no. 105), is granted.

      2)     The defendant's plea hearing will be held before the undersigned magistrate
             judge on March 25, 2014 at 3:00 p.m.. The defendant is ordered to appear
             at this hearing.

      3)     For the reasons stated by counsel in the motion, the Court finds that the
             ends of justice served by continuing defendant's plea hearing outweigh the
             best interest of the defendant and the public in a speedy trial. Accordingly,
             the time between today's date and the district court judge's acceptance or
             rejection of the anticipated plea of guilty shall be excluded for speedy trial
             calculation purposes. 18 U.S.C. § 3161(h)(7).


      March 12, 2014.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
